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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT
                                 Honorable Maria E. Garcia
                                    141 Church Street
                                  New Haven, CT 06510

                           SETTLEMENT CONFERENCE ORDER

        This case is scheduled for a settlement conference on September 13, 2023, at 10:30 a.m.
with the Honorable Maria E. Garcia, United States Magistrate Judge. The conference will be
conducted in-person. Local counsel should notify any pro hac vice counsel of the date and time
of the conference.

       In advance of the conference, the Court enters the following orders:

1.     Exchange of settlement proposals

Settlement conferences are often unproductive unless the parties have exchanged offers and
demands before the conference and made a serious effort to settle the case on their own. Therefore,
plaintiff’s counsel is directed to serve a written settlement demand upon defendant’s counsel, not
less than fourteen (14) days before the conference. The demand shall be accompanied by an
updated written damages analysis containing “a computation of each category of damages
claimed.” Fed. R. Civ. P. 26(a)(1)(A)(iii). Defendant’s counsel are directed to serve a written
settlement offer upon plaintiff’s counsel at least seven (7) days prior to the settlement
conference. Failure to submit a counteroffer in a timely manner may result in a
postponement of the settlement conference.

       Each written demand and offer shall set forth any material, non-monetary terms of the
proposed settlement, such as confidentiality, non-disparagement, and/or the execution of a release
extending beyond the claims asserted in the complaint (i.e., a “global” release). If either party
contends that the monetary portion of the proposed settlement would be subject to a lien, its written
proposal shall include a statement of the nature and amount of the lien.

       2.       Settlement conference memoranda

       Not later than 7 days prior to the conference, counsel for each party must submit to
Judge Garcia a confidential, ex parte settlement memorandum. The memorandum shall not exceed
ten double-spaced pages and should be submitted via e-mail to:

       MEG_settlement@ctd.uscourts.gov.

       Each party’s memorandum shall include:

       (a) the essential facts of the case; where material facts are disputed, the
           memorandum should explain the evidence that the party expects to offer at trial;

       (b) the legal elements of the claims and defenses asserted;

       (c) a damages analysis;

       (d) the status of discovery;
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       (e) a list of any motions contemplated;

       (f) a summary of settlement negotiations to date;

       (g) the nature and amount of any lien that will apply (or is alleged to apply) to any
           settlement;

       (h) any material, non-monetary terms that the party will be seeking in a settlement
           agreement;

       (i) a discussion of strengths and weaknesses of case;

       (j) a list of all persons who will attend the conference on behalf of that party,
           including job titles if pertinent to the case; and

       (k) identification of any unusual issues or problems that may be expected to arise.

       If counsel feels that exhibits are necessary to the Court’s understanding of the case, a
reasonable number of exhibits may be submitted along with the memorandum. Judge Garcia will
have read the operative pleadings by the time of the conference, so those pleadings should not be
attached as exhibits. The Court notes that exhibits should be submitted only when necessary
and are not a substitute for a well-composed memorandum.

       Courtesy copies of the ex parte settlement memorandum with exhibits should be
mailed to chambers no later than five (5) business days prior to the settlement conference.

3.     In-person attendance

        The Court orders the parties to attend the settlement in person. If a party is a legal
entity rather than an individual, a representative who is fully authorized to decide all matters
pertaining to the case must be present. The Court does not consider the appearing attorney to be a
party representative for this purpose. If a party is being indemnified by an insurer, an insurance
company representative with full authority to settle the case must be present. The Court will not
hold a settlement conference unless all required attendees are present. Failure to comply with
these attendance requirements may result in the imposition of sanctions.

4.      Other orders

        Continuances will be granted only for good cause shown. If a party seeks a continuance,
it is respectfully directed NOT to file a motion on the docket but instead to call Judge
Garcia’s law clerk at (203) 773-2022 as soon as possible with opposing counsel on the line to
work out a new date.

        Counsel are reminded that the scheduling of a settlement conference does not affect
existing deadlines and shall not delay discovery or other due dates.

         If the case is resolved after the issuance of this Order, but before the settlement conference,
the parties shall promptly report the settlement to Judge Garcia’s Chambers.


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It is so ordered.


                                            /s/ Maria E. Garcia
                                              Maria E. Garcia
                                       United States Magistrate Judge




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